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PROB 35            ORDER TERMINATING SUPERVISED RELEASE
                         PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                        )
                                                )
                           vs.                  )     Docket Number: 1:02CR05101-005
                                                )
LETICIA MIRANDA                                 )
                                                )


On May 12, 2003, the above-named was placed on Supervised Release for a period of 3
years. She has complied with the rules and regulations of supervision. It is accordingly
recommended that she be discharged from supervision.

                                 Respectfully submitted,

                                  /s/ Lonnie E. Stockton

                                 LONNIE E. STOCKTON
                             United States Probation Officer

Dated:       December 16, 2005
             Bakersfield, California


REVIEWED BY:        /s/ Rick C. Louviere
                    RICK C. LOUVIERE
                    Supervising United States Probation Officer




                                                                                Rev. 03/2005
                                                                               P R O B 3 5. MR G
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Re:   LETICIA MIRANDA
      Docket Number: 1:02CR05101-005
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that
the proceedings in the case be terminated.



IT IS SO ORDERED.

Dated:   December 16, 2005                   /s/ Anthony W. Ishii
0m8i78                                 UNITED STATES DISTRICT JUDGE




                                                                                  Rev. 03/2005
                                                                                 P R O B 3 5. MR G
